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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 12-62370‐CIV-SMITH

 PATRICIA K. FERDARKO,

        Plaintiff,
 v.

 MIDLAND CREDIT MANAGEMENT, INC.

       Defendant.
 _______________________________/


                     FINAL ORDER OF DISMISSAL WITH PREJUDICE

        This matter is before the Court on the Parties’ Stipulation of Dismissal With Prejudice [DE

 23]. Upon consideration, it is

        ORDERED that:

        1.      This matter is DISMISSED with prejudice.

        2.      Attorney’s fees and costs shall be borne by each party.

        3.      All pending motions are DENIED as moot.

        4.      This case is CLOSED.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 9th day of June, 2021.




 Copies furnished to: Counsel of Record
